         Case 1:19-cv-11158-ADB
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                                                              Entry   1 6288865




              United States Court of Appeals
                               For the First Circuit
                                  _____________________

No. 19-1840
                                  CLEMENT G. MORRIS

                                     Plaintiff - Appellant

                                              v.

                        DESMOND LAM; SUZANNE LEE, Principal

                                   Defendants - Appellees
                                   __________________

                                        JUDGMENT

                                 Entered: October 10, 2019
                                Pursuant to 1st Cir. R. 27.0(d)

       By order entered September 18, 2019, appellant was directed to show cause in writing as
to why this appeal should not be dismissed as duplicative of Appeal No. 19-1832. Appellant was
warned that failure to respond by October 2, 2019 would lead to dismissal for lack of diligent
prosecution.

       Appellant having failed to file a timely response, it is hereby ordered that the above-
captioned appeal be dismissed in accordance with Local Rule 3.0(b). Appellant's appeal shall
proceed under No. 19-1832.




                                                   By the Court:

                                                   Maria R. Hamilton, Clerk


cc:
Clement G. Morris
